

People v Cruz (2022 NY Slip Op 06561)





People v Cruz


2022 NY Slip Op 06561


Decided on November 17, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 17, 2022

Before: Kern, J.P., Scarpulla, Pitt, Higgitt, JJ. 


SCI No. 946/18 Appeal No. 16676 Case No. 2019-5721 

[*1]The People of The State of New York, Respondent, 
vHector Cruz, Defendant-Appellant.


Justine M. Luongo, The Legal Aid Society, New York (Nao Terai of counsel), and Kramer Levin Naftalis &amp; Frankel LLP, New York (Scott Eckl of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Nicole Neckles of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Laurence Busching, J.), rendered July 11, 2018,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 17, 2022
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








